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                                       UNITED STATES DISTRICT COURT
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                                  CENTRAL DISTRICT OF CALIFORNIA
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     JACQUELYN “JACKIE” LACEY, in her            )   Case No. CV 24-5205 FMO (MAAx)
11   individual capacity and as trustee of the   )
     D and J Lacey Family Trust dated            )
12   November 23, 2016,                          )
                                                 )   ORDER RE: FURTHER PROCEEDINGS
13                        Plaintiff,             )
                                                 )
14                 v.                            )
                                                 )
15   STATE FARM GENERAL INSURANCE                )
     COMPANY,                                    )
16                                               )
                          Defendant.             )
17                                               )
                                                 )
18

19          Having reviewed and considered all the briefing filed with respect to plaintiff’s Ex Parte

20   Application to Continue Fact Discovery Cutoff [] (Dkt. 68, “Application”), IT IS ORDERED THAT:

21          1. The Application (Document No. 68) is granted as set forth in this Order.

22          2. All fact discovery shall be completed no later than May 5, 2025.

23          3. All expert discovery shall be completed by May 5, 2025. The parties must serve their

24   Initial Expert Witness Disclosures no later than March 6, 2025.          Rebuttal Expert Witness

25   Disclosures shall be served no later than April 3, 2025. The parties should commence expert

26   discovery shortly after the initial designation of experts, because Local Rules 7-3 and 37-1 require

27   ample time to meet and confer as well as brief the matters, and because the final pretrial

28   conference and trial dates will not be continued merely because expert discovery is still underway.
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1           4. The parties shall complete their settlement conference before a private mediator

2    (“settlement officer”) no later than May 5, 2025. Plaintiffs’ counsel shall contact the settlement

3    officer with enough time so that the settlement conference date is early enough to comply with the

4    settlement completion deadline imposed by this court. After obtaining available dates from the

5    settlement officer, counsel for the parties shall confer and select one of the proposed dates.

6    Plaintiffs’ counsel shall then advise the settlement officer of the settlement conference date

7    selected by parties. If the case settles, counsel shall file a Notice of Settlement no later than 24

8    hours after the case is settled, stating when they expect to file their dismissal papers. Otherwise,

9    the parties must, no later than 48 hours after the settlement conference is completed, file

10   a Status Report Re: Settlement. The Status Report shall not disclose the parties’ settlement

11   positions, i.e., the terms of any offers or demands. The Status Report shall describe the efforts

12   made by the parties to resolve the dispute informally, i.e., the occasions and dates when the

13   parties participated in mediation or settlement conferences. The Status Report shall also include

14   the name of the settlement officer who assisted the parties with their settlement conference.

15          5. Any motion for summary judgment or other potentially dispositive motion (other than a

16   motion under Rule 12(b)(6)) shall be filed no later than June 4, 2025, and noticed for hearing

17   regularly under the Local Rules. Any untimely or non-conforming motion will be denied. All

18   potentially dispositive motions shall comply with the requirements set forth in the Court’s Order Re:

19   Summary Judgment Motions issued contemporaneously with the filing of this Order. Each party

20   is allowed one potentially dispositive motion.1

21          6. The parties shall file memoranda of contentions of fact and law; witness lists; the Pretrial

22   Exhibit Stipulation; and joint motions in limine no later than August 1, 2025.

23          7. The parties shall lodge their proposed Pretrial Conference Order and file the Joint Jury

24   Instructions; Disputed Jury Instructions; a joint proposed verdict form; a joint statement of the

25   case; proposed additional voir dire questions, if desired; and reply memoranda to motions in limine

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          A motion filed pursuant to Rule 12(c) more than 21 days after the pleadings are closed will
28   be deemed a dispositive motion.

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1    no later than August 8, 2025.

2           The parties shall also send copies of the proposed Pretrial Conference Order; Joint Jury

3    Instructions; Disputed Jury Instructions; the joint proposed verdict form; the joint statement of the

4    case; and any proposed additional voir dire questions, to the chambers e-mail address

5    (fmo_chambers@cacd.uscourts.gov) in WordPerfect (the court’s preference) or Word format.

6           8. The final pretrial conference and hearing on motions in limine is scheduled for August

7    22, 2025, at 10:00 a.m.

8           9. The trial is scheduled to begin on Tuesday, September 9, 2025, at 9:00 a.m. On the

9    first day of trial, counsel must appear at 8:45 a.m. to discuss preliminary matters with the court.

10   Dated this 7th day of January, 2025.

11                                                                         /s/
                                                                    Fernando M. Olguin
12                                                              United States District Judge

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